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   Attorneys for Plaintiff


                                          UNITED STATES DISTRICT COURT

                                                    DISTRICT OF OREGON

                                                    PORTLAND DIVISION

   ALEX McDONALD                                                                 CASE NO.

                                      Plaintiff,                                         COMPLAINT
                                                                                 (Property Damage; Negligence)
   V.


   UNION PACIFIC RAILROAD COMPANY, a                                               DEMAND FOR JURY TRIAL
   foreign business corporation,

                                      Defendant.




   Plaintiff Alex McDonald brings this Complaint against Union Pacific Railroad Company and

   alleges as follows:

                                                    NATURE OF ACTION

             1.        This action arises out of damage to the plaintiffs property from the waterway

   under the trestle within the Union Pacific Railroad Company's ("Union Pacific") right of way in

   Fairview, Oregon.

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             2.         Over the course of a number of years, Union Pacific allowed a very large beaver

   dam to be constructed underneath their trestle and within their right of way . Over time this

   obstruction in Fairway Creek, in the right of way of Union Pacific, caused damages to plaintiffs

   property.

                                                           THE PARTIES

             3.         Alex McDonald is a resident of Jefferson County, Oregon.

             4.         Union Pacific is a corporation organized under the laws of Delaware, with its

   principal place of business located in Nebraska.

                                               JURISDICTION AND VENUE

             5.         Thi s Court has jurisdiction over this action pursuant to 28 U.S.C. §1332 because

   this action is between citizen of different states and the matter in controversy exceeds the sum or

   value of $75,000, exclusive of interests and costs.

             6.         Venue is proper in the District of Oregon pursuant to 28 U.S.C. §1391 because a

   substantial part of the events or omissions giving rise to the claims occurred in this District.

   Additionally, the parties to this action have stipulated that venue is proper in this District.

                                                 FACTUAL ALLEGATIONS

             7.         Plaintiff is the owner of certain real property in Multnomah county adjacent to

   Fairview Creek and more particularly described in Exhibit A as tract "b" attached hereto and

   incorporated by reference herein.

             8.         Union Pacific owns a right of way across Fairview Creek adjacent to plaintiffs

   property.



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             9.        For the past several years, Union Pacific knowingly allowed a beaver dam to be

   built within Union Pacific's right of way on Fairview Creek. The beaver dam was approximately

   50 feet in width and 8 feet in height. It was, and still is, easily v isible during all daylight hours

   from the railroad trestle across the creek, which Union Pacific employees inspect on a regular

   and timely basis.

                                                FIRST CLAIM OF RELIEF

                                                 (Common Law Negligence)

             10.       Plaintiff realleges and incorporates by reference the allegations contained in

   Paragraphs 1 through 9 above, as though fully set forth herein.

             1 1.      The darn created a foreseeable risk of harm in that the beaver dam would

   potentially cause damage to the railroad trestle and/or would cause damage to adjoining

   properties through flooding, river channels and burrowing by the beavers in and around the dam.

             12.       Defendant Union Pacific had a duty to maintain its property, including its right of

   way across Fairview Creek. This duty included the need to remove the beaver dam within its

   right of way before the dam caused damage to adjoining properties.

             13 .      For several years, Union Pacific did not take any action to remove the beaver darn

   even though the dam, and the beaver activity, was creating a potential threat to the integrity to

   the trestle and the surrounding property. It was reasonably foreseeable that the creation of a

   large dam within the Union Pacific right of way would adversely impact properties adjacent to

   the right of way of Union Pacific. Over time, the dam did create flood waters, river channels and

   numerous beaver burrows which have caused severe damage to plaintiffs property.




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              14.      Defendant's negligence in not removing the beaver dam over a period of several

   years was the cause of the damage to plaintiffs property. The damage led to a devaluation of

   plaintiffs property as it is now unusable for development. The damages to plaintiff and

   plaintiffs property by such devaluation, is $2,500,000.

             15.       Despite demands, defendant has refused and failed to pay any damages to the

   plaintiff.

                                              SECOND CLAIM OF RELIEF

                   (Brach of Regulatory Duty to Keep Fairway Creek Free of Obstruction)

             16.       Plaintiff realleges and incorporates by reference the allegations contained in

   paragraphs 1 through 15 above, as though fully set forth herein.

             17.       Pursuant to the U.S. Code of Federal Regulations, Union Pacific had a duty to

   keep Fairview Creek, within its right of way, free of all obstruction. ( 49 CFR 213.33)

   ("regulations")

             18.       Plaintiff as the owner of real prope11y adjacent to the defendant' s right of way is a

   person meant to be protected by the regulation.

             19.       The damages suffered by plaintiff are the type of damage the regulation was

   intended to prevent.

             20.       Damages in the amount of $2,500,000.00 due to failing to comply with Federal

   Regulations.

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             WHEREFORE, plaintiff prays that:

             A.         Union Pacific be required to pay plaintiff all damages suffered by plaintiff as a

   result of Union Pacific's negligence and regulatory duty to keep waterways within a railroad

   right of way clear of obstructions as set forth above, in an amount of $2,500,000.

             B.         Union Pacific be required to pay costs of suit, attorney fees incurred in this suit;

   and

             C.         Plaintiff be granted such other and further relief as this Court deems just and

   equitable.

             Dated this _ _ day of July, 2017.

                                                                 FITCH LAW GROUP, PC


                                                                 BY:
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